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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE
 7
      UNITED STATES OF AMERICA,
 8                          Plaintiff,                  Case No. CR11-383RSL

 9           v.                                         ORDER GRANTING IN PART
      JACK SEXTON and RONALD                            AND DENYING IN PART
10                                                      MOTIONS TO SUPPRESS
      KETTELLS,
11                                                      STATEMENTS
                            Defendants.
12

13                                        I. INTRODUCTION

14          This matter comes before the Court on Defendant Ronald Kettells’ “Motion for

15   Voluntariness Hearing” (Dkt. # 59) and Defendant Jack Sexton’s “Motion to Suppress
     Evidence of Custodial Statements Due to Fifth Amendment Violation” (Dkt. # 88).
16
     Kettells contends that his initial waiver of Miranda rights was involuntary, and therefore
17
     any statements he made before he invoked his right to counsel during the post-arrest
18
     interview with police officers must be suppressed. Instead of joining Kettells’ motion,
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     Sexton filed a separate motion to suppress, arguing that he unambiguously invoked his
20
     right to counsel shortly after beginning his interview and as a result, his statements to
21
     officers after this invocation should be suppressed. Based on the Court’s review of the
22   parties’ memoranda and supporting documents, the remainder of the record, and the
23   evidence presented during the evidentiary hearing, the Court finds as follows:
24                                         II. DISCUSSION
25
26   ORDER GRANTING IN PART AND DENYING
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 1   A. Background

 2          Defendants are charged with conspiracy to commit bank robbery in violation of

 3   18 U.S.C. § 2113(a), armed bank robbery in violation of 18 U.S.C. § 2113(a) and (d),

 4   and using a firearm during a crime of violence in violation of 18 U.S.C. § 924(c). Dkt. #
     76 at 1-3. Defendants are also charged with three counts of armed bank robbery and
 5
     three counts of using a firearm during a crime of violence, relating to the August 8,
 6
     2011, robbery of a Key Bank in Seattle, Washington, the September 12, 2011, robbery
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     of a Washington Federal bank in Seattle, Washington, and the October 20, 2011,
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     robbery of a Wells Fargo Bank in Shoreline, Washington. Id. at 4-7. Sexton, but not
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     Kettells, is charged with one count of bank robbery for the July 6, 2011, robbery of a
10
     Key Bank in Shoreline, Washington. Id. at 4.
11
            On October 25, 2011, Defendants were arrested and taken to a Seattle Police
12   Department building, where Seattle Police Department Detective Len Carver and King
13   County Sheriff’s Office Detective Christina Bartlett questioned them in separate, video
14   and audio recorded sessions. A detective read Defendants their Miranda rights when
15   they were first arrested and Detective Carver repeated these rights at the beginning of
16   the interviews. Dkt. # 88-1 at 3. The detectives interviewed Sexton first. After a brief

17   explanation of the investigation, the detectives began asking Sexton about his alleged

18   involvement in a series of bank robberies. After a few minutes of conversation, Sexton
     commented that it would be best if he had a lawyer present:
19
            [Sexton]: What I’m saying is I need to talk to a lawyer or why can’t I talk to a
20          lawyer first and do all this that you say? I mean, that’s a possibility too.
21          [Bartlett]: That absolutely is a possibility.
22          [Sexton]: (Inaudible)
23          [Bartlett]: But if that’s what you want to do, we can do that.

24          [Sexton]: That would be the smartest thing to do.

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 1          [Bartlett]: Maybe.

 2          [Sexton]: Yeah, for both sides.

 3          [Bartlett]: Tell me about that.

 4          [Sexton]: For what? For both sides?
            [Bartlett]: Yeah.
 5
            [Sexton]: Well, I just think it would be better for both sides to have an attorney
 6          and have it - - and I’ll have my rights protected and (inaudible).
 7          [Bartlett]: Yeah. The big - - the big right - - I mean, we went through your rights
            with you and what you have to pay attention to is just that last one. You have the
 8          right to exercise those at any time.

 9          [Sexton]: I understand.

10          [Bartlett]: And all that I’m trying to do is give some of these women that were
            scared to death a little bit of peace, a little bit of empathy that - - a little bit of,
11          you know, where they can - -
     Id. at 9-10.
12
            The detectives continued to discuss the robberies and question Sexton about his
13
     alleged involvement. A half hour later, Sexton told the detectives he wanted an attorney
14
     and he was finished with the interview. Id. at 41. Detective Bartlett and Detective
15
     Carver then began questioning Kettells. After approximately ten minutes of background
16
     questions, Kettells said “I want an attorney” and the interview ended.
17
     B. Analysis
18
            In Miranda v. Arizona, the Supreme Court established certain procedural
19   safeguards to protect a suspect’s right against compelled self-incrimination. 384 U.S.
20   436 (1966). Miranda requires that before law enforcement officers may question a
21   suspect in custody, the suspect must be warned that he has the right to remain silent, that
22   any statement he makes can and will be used against him, that he has the right to have
23   counsel present during the questioning, and that if he cannot afford a lawyer, one will be

24   appointed to represent him. Id. at 467-73. After a suspect is advised of his rights, he

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 1   may waive these rights and respond to police questions. North Carolina v. Butler, 441

 2   U.S. 369, 372-76 (1979). However, if at any time during the interrogation the suspect

 3   states that he wants an attorney, the questioning must stop until an attorney is present.

 4   Edwards v. Arizona, 451 U.S. 477, 484 (1981). “[I]t is inconsistent with Miranda and
     its progeny for authorities, at their instance, to reinterrogate an accused in custody if he
 5
     has clearly asserted his right to counsel.” Id. at 485. If the officers continue to question
 6
     the suspect without an attorney present, a heavy burden rests on the government to show
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     that the suspect knowingly and intelligently waived his right to counsel. Miranda, 384
 8
     U.S. at 475.
 9
            1. Defendant Sexton
10
            Sexton does not dispute that he voluntarily waived his Miranda rights when the
11
     interview first began. He does, however, contend that he unambiguously invoked his
12   right to counsel when he said “[w]hat I’m saying is I need to talk to a lawyer . . . That
13   would be the smartest thing to do . . . I just think it would be better for both sides to have
14   an attorney and have it . . . I’ll have my rights protected.” Dkt. # 88-1 at 9-10.
15          Whether a suspect has invoked his right to counsel is an objective inquiry. Davis
16   v. United States, 512 U.S. 452, 459 (1994). “Invocation of the Miranda right to counsel

17   ‘requires, at a minimum, some statement that can reasonably be construed to be an

18   expression of a desire the assistance of an attorney.’ ” Id. (quoting McNeil v.
     Wisconsin, 501 U.S. 171, 178 (1991)). “[I]f a suspect makes a reference to an attorney
19
     that is ambiguous or equivocal in that a reasonable officer in light of the circumstances
20
     would have understood only that the suspect might be invoking the right to counsel,”
21
     officers are not required to stop questioning the suspect. Id. (emphasis in original).
22
            The government suggests that at most, Sexton’s statements were ambiguous
23
     inquiries about his rights. Dkt. # 91 at 6-7. During the evidentiary hearing the
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 1   detectives testified that they had no doubt that they could continue to question Sexton

 2   after he referenced a lawyer. Relying on Sexton’s inflection when he referred to a

 3   lawyer, the detectives believed he was inquiring about his right to an attorney rather

 4   than invoking that right. That Sexton continued to answer the detectives’ questions,
     Defendants argue, indicates that he did not invoke his right to counsel. The Court does
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     not find these arguments persuasive.
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            Although Sexton’s initial statement that he needed to talk to a lawyer was
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     followed by a question, his subsequent statement that he would have his rights protected
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     was sufficient to invoke his right to counsel and stop the interview. Considering the
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     statements as a whole, the Court finds that Sexton unequivocally invoked his right to
10
     counsel. The video recording of Sexton’s interview further supports the Court’s finding
11
     that “[a] reasonable police officer in the circumstances would understand the
12   statement[s] to be a request for an attorney.” See Davis, 512 U.S. at 459. Contrary to
13   the government’s argument, Sexton’s inflection in no way suggests that he was merely
14   inquiring about his rights. Furthermore, the fact that Sexton responded to further
15   interrogation after invoking his right to counsel is insufficient to constitute waiver.
16   Edwards, 451 U.S. at 484 (“when an accused has invoked his right to have counsel

17   present during custodial interrogation, a valid waiver of that right cannot be established

18   by showing only that he responded to further police-initiated custodial interrogation
     even if he has been advised of his rights.”) .
19
            Finally, even if Sexton’s statements were equivocal, the detectives failed to
20
     clarify whether Sexton actually wanted to have a lawyer present. Dkt. # 88-1 at 10.
21
     Rather than clarifying Sexton’s intentions, the detectives persisted in probing him for
22
     information about the robberies. The interview continued without pause as the
23
     detectives tried to persuade Sexton to restore the witnesses’ sense of peace and safety by
24
     talking. Id. at 10-11. The detectives failed to respect Sexton’s request for an attorney,
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 1   and continued in the very type of badgering that Edwards sought to protect against.

 2   Oregon v. Bradshaw, 462 U.S. 1039, 1044 (1983). Because the detectives did not

 3   immediately cease questioning Sexton after he unambiguously invoked his right to

 4   counsel, the Court GRANTS Sexton’s motion to suppress.
             2. Defendant Kettells
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             In his motion to suppress, Kettells seeks to suppress the statements he made
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     during the brief period of time before he invoked his right to counsel because his initial
 7
     waiver of his Miranda rights was involuntary.
 8
             To determine whether a suspect’s waiver was voluntary, the Court considers the
 9
     totality of circumstances. United States v. Harrison, 34 F.3d 886, 890 (9th Cir. 1994).
10
     The Court must determine “whether the government obtained the statement by physical
11
     or psychological coercion or by improper inducement so that the suspect’s will was
12   overborne.” Id. (quotations and citations omitted). The inquiry regarding waiver has
13   two dimensions: “waiver must be voluntary in the sense that it was the product of a free
14   and deliberate choice rather than intimidation, coercion, or deception, and made with a
15   full awareness of both the nature of the right being abandoned and the consequences of
16   the decision to abandon it.” Berghuis v. Thompkins, - - - U.S. - - -, 130 S.Ct. 2250,

17   2260 (2010) (quotations and citation omitted). An accused’s waiver need not be express

18   and may be implied where the prosecution shows that Miranda warnings were given, an
     accused understood his rights, and an accused later made an uncoerced statement. Id. at
19
     2262.
20
             The totality of circumstances indicates that Kettells’ waiver was knowing and
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     voluntary. First, the evidence shows that Miranda warnings were given both at the time
22
     of arrest and again at the police station. Second, there is ample evidence that Kettells
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     understood his rights. His clear and unambiguous request for counsel shortly after
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     beginning the interview indicates that he was aware of his rights to stay silent and to
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 1   have counsel present during the interview and that he had not previously invoked those

 2   rights. United States v. Andaverde, 64 F.3d 1305, 1314 (9th Cir. 1995). Finally, there is

 3   no indication that the detectives used coercion or intimidation to provoke Kettells’

 4   statements. Kettells does not claim that the officers threatened him or injured him
     during the interviews.
 5

 6                                     III. CONCLUSION
 7          For all of the foregoing reasons, the Court finds that both Sexton and Kettells
 8   voluntarily made statements to the police until each invoked his right to counsel and the

 9   Court GRANTS Defendant Sexton’s motion to suppress (Dkt. # 88). The Court

10   DENIES Kettells’ motion to suppress (Dkt. # 59).

11
            DATED this 7th day of March, 2013.
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                                               A
16                                             Robert S. Lasnik
                                               United States District Judge
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